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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 CHASE KINDER and CHERI KINDER,                  )
 individually and d/b/a as Bird Dog Hill         )
 Kennels, individually and on behalf of          )
 others similarly situated; STONYBROOK           )   CASE NO.: ________________________
 KENNEL, individually and on behalf of           )
 others similarly situated; PAMELA TAAS,         )
 individually and on behalf of others            )
 similarly situated,                             )
                                                 )
                      Plaintiffs,                )   NOTICE OF REMOVAL
                                                 )
               v.                                )
                                                 )
 NORFOLK SOUTHERN CORPORATION                    )
 and NORFOLK SOUTHERN RAILWAY                    )   JURY TRIAL DEMANDED
 COMPANY,                                        )
                                                 )
                      Defendants.                )   Electronically Filed

       PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1332(d), 1441, 1446, and 1453,

defendants Norfolk Southern Corporation (hereinafter “NSC”) and Norfolk Southern Railway

Company (hereinafter “NSRC”) (collectively, “Defendants”) hereby remove this action to the

United States District Court for the Northern District of Ohio from the Court of Common Pleas

of Columbiana County, Ohio, where this action is now pending. In support of this Notice of

Removal, Defendants set forth the following grounds:

       1.     This is a civil action over which this Court has original jurisdiction pursuant to

the Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1332(d), because the matter in

controversy exceeds the sum or value of $5,000,000, exclusive of interest and costs, and is a

class action in which a member of the purported class of plaintiffs is a citizen of a state

different from that of any defendant.
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        2.       On or about February 9, 2023, Plaintiffs Chase Kinder, Cheri Kinder, Bird Dog

Hill Kennels, Stonybrook Kennel, and Pamela Taas (“Plaintiffs”), residents of Ohio, filed a

putative Class Action Complaint (hereinafter “Complaint”) in the Court of Common Pleas of

Columbiana County, Ohio captioned: Chase Kinder and Cheri Kinder, individually and d/b/a

Bird Dog Hill Kennels, individually and on behalf of others similarly situated, Stonybrook

Kennel, individually and on behalf of others similarly situated, and Pamela Taas, individually

and on behalf of others similarly situated, v. Norfolk Southern Corporation and Norfolk

Southern Railway Company, at Docket No. 2023 CV 00058.

        3.       Attached hereto as Exhibit “A” is a true and correct copy of the Complaint filed

in the Court of Common Pleas of Columbiana County, Ohio. As of February 15, 2023,

Defendants have not been served with a Summons and Complaint, and there are no

additional pleadings or orders that have been filed in the Court of Common Pleas of

Columbiana County, Ohio.

        4.       The Complaint is brought on behalf of Plaintiffs and three putative subclasses:

        (A) “[a]ll persons, firms or entities who owned or rented property at any time from
            February 3 through February 17, 2023 within 20 miles of the train derailment
            that occurred on February 3, 2023 at the East End of East Palestine (APPROX.
            40°50’09.6”N 80°31’21.7”W)”;

        (B) “[a]ll persons who owned, rented, resided in, or worked at a property at any time
            from February 3 through February 17, 2023 within 20 miles of the train
            derailment that occurred on February 3, 2023 at the East End of East Palestine
            (APPROX. 40°50’09.6”N 80°31’21.7”W) and who evacuated the area, were
            sheltered in place, or were unable to return to their homes or businesses
            pursuant to direction of safety personnel,” and;

        (C) “[a]ll persons present within 20 miles of the train derailment that occurred on
            February 3, 2023 at the East End of East Palestine (APPROX. 40°50’09.6”N
            80°31’21.7”W).” (Ex. “A” at ¶ 1).1

1For purposes of this Notice, Defendants will refer to the train derailment in East Palestine, Ohio on February
3, 2023 as “the February 3 derailment.”


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       5.       The Complaint asserts claims for negligence, “res ipsa,” nuisance, reckless or

willful and wanton conduct and ultra hazardous activity, punitive damages, attorneys’ fees,

and seeks injunctive relief.

       6.       The Complaint alleges that “[e]ach of these classes number in excess of 500

persons and each is so numerous that joinder of all members is impracticable, and it is

further impractical to bring all such persons before this Court.” (Ex. “A” at ¶ 2). Accordingly,

there is no dispute there are more than 100 members in each of the proposed plaintiff

classes.

       7.       This Court has original jurisdiction over this case pursuant to CAFA.

Specifically, at least one member of the class of plaintiffs is a citizen of a state different from

any defendant:

                a. Each of the named Plaintiffs reside in Ohio (Ex. “A” at ¶¶ 13-15), and
                   upon information and belief, each is a citizen of the State of Ohio; and

                b. Defendants NSC and NSRC both are corporations organized and
                   existing under the laws of the Commonwealth of Virginia, with their
                   principal place of business in Georgia.

       8.       The February 3 derailment is the subject of numerous class action civil

lawsuits pending—and originally filed—in this Court, each of which have alleged an amount

in controversy in excess of $5,000,000 including:

               Feezle, et al. v. Norfolk Southern Corporation, et al., No. 4:23-cv-00242-BYP;

               Eisley, et al. v. Norfolk Southern Railway Company, No. 4:23-cv-00250-BYP;

               Hall, et al. v. Norfolk Southern Railway Co., et al., No. 4:23-cv-00257-JRA;

               Erdos, et al. v. Norfolk Southern Corporation, et al., No. 4:23-cv-00268-BYP.




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       9.     Although Defendants deny that they are legally liable for any of the claims or

theories of recovery as alleged in the Complaint and further deny that Plaintiffs, or any

members of the putative class, are legally entitled to any monetary or equitable relief as

alleged in the Complaint, the amount in controversy here satisfies the jurisdictional

threshold.

       10.    The CAFA amount-in-controversy threshold is satisfied because the amount in

controversy exceeds the sum or value of $5,000,000, exclusive of interest and costs. 28 U.S.C.

§§ 1332(d)(2), (6). Although the Complaint alleges that the Plaintiffs suffered various

damages, it does not quantify the amount of damages in any way. (Ex. “A” at ¶ 59). “When a

complaint does not specifically allege damages in detail, a removing defendant must

establish the threshold is satisfied by a preponderance of the evidence.” Johnson v. Bank of

Am., N.A., 2013 U.S. Dist. LEXIS 176656, at *5 (N.D. Ohio Dec. 17, 2013). “This standard does

not place upon the defendant the daunting burden of proving, to a legal certainty, that the

plaintiff's damages are not less than the amount-in-controversy requirement.” Hayes v.

Equitable Energy Res. Co., 266 F.3d 560, 572 (6th Cir. 2001) (citation omitted).

       11.    As demonstrated by the conservative estimates below, it is clear, by a

preponderance of the evidence, that the amount of controversy in this class action, with a

putative class of potentially thousands of individuals and businesses, exceeds $5,000,000.

                              TYPES OF DAMAGES SOUGHT

       12.    The Complaint sets forth three classes of potential plaintiffs, and delineates

the alleged harm to each as follows: “the class members in Class A have experienced property

damage and expense, all to their damage. The members of Class B have experienced

economic loss and expense, emotional distress, discomfort and inconvenience, all to their



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damage. The members of Class C have experienced exposure to hazardous chemicals which

create a risk of harm justifying testing, monitoring, and other relief, and those persons have

likewise experienced other losses and expenses.” (Ex. “A” at ¶ 39).

       13.    In Counts One, Two, and Four of the Complaint (negligence, res ipsa, and

reckless or willful and wanton conduct and ultra hazardous activity), the Plaintiffs request

damages for all class members as follows:

              a. The right and necessity to have an inspector of their choice fully inspect

                  their homes and businesses to estimate the full amount of real and/or

                  personal property damage.

              b. The right to have all such damage repaired promptly and fully.

              c. The right to full compensation for economic and business loss and expense

                  for the persons, firm and entities whose businesses or employment was

                  disrupted.

              d. The right to full compensation for all medical expenses or costs.

              e. The right to medical testing, follow-up, monitoring, and related relief.

              f. The right to full compensation for per diem economic loss, costs, expenses,

                  meals and lodging for those who evacuated, all additional incurred costs or

                  losses for those sheltered in place, and recovery for those who otherwise

                  incurred loss, costs or expenses of an economic nature as a result of the gas

                  leaks.

              g. The right to full compensation for the evacuation and/or failure to return

                  including but not limited to emotional distress, pain, discomfort and

                  inconvenience.



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(Ex. “A” at ¶¶ 42, 46, 57, and 59).

       14.    In Count Three of the Complaint (nuisance), Plaintiffs request damages for all

members of Class A and Class B who own real property and “have experienced, for and to

that property, damages as the direct and proximate result of the fire, smoke and chemicals.”

Plaintiffs also request the same general relief for all class members listed above for Count

Three. (Ex. “A” at ¶¶ 49, 51).

       15.    In addition to compensatory damages, Plaintiffs seek punitive damages,

interest, costs, attorneys’ fees, and accountant or auditing fees for all putative class members.

(Ex. “A”, ad damnum clause, at nos. 3, 4).

       16.    The Complaint generally seeks compensatory damages and punitive damages

for economic losses, interference with the use and enjoyment of property, residence,

workplace and/or business, past and future medical expenses, emotional distress and pain,

discomfort and inconvenience.

                                 PUTATIVE CLASS MEMBERS

       17.    Based on census data, it appears that the total number of putative class

members that reside within a 20 mile radius of the February 3 derailment site includes

446,440 potential members over a three state area. (A true and correct copy of the

University of Missouri Census Data Center, Geocor 2022 Geographic Correspondence Engine

data for a 20 mile radius is attached hereto as Exhibit “B”).

       18.    Based on this number of putative class members, each member need only put

$11.20 of damages in controversy to satisfy the CAFA jurisdictional amount of $5,000,000.

Although the claims in the Complaint contemplate potential damages in excess of $11.20 per




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potential class member, a more conservative review of the currently available data also

shows that the amount in controversy requirement is met here.

       19.      Approximately 2,000 people were evacuated as a result of the February 3

derailment. (Christine Houser, What We Know About the Train derailment in Ohio, New York

Times, February 13, 2023, available at https://www.nytimes.com/article/ohio-train-

derailment.html, a true and correct copy of which is attached as Exhibit “C”). All of these

evacuees were East Palestine, Ohio residents.

       20.      In addition, all other residents of East Palestine, Ohio were subject to shelter-

in-place orders on February 3, 2023. (Fiery Train Derailment in East Palestine Leads to

Evacuation       Order,     Salem      News,        February    4,    2023,     available     at

https://www.salemnews.net/news/local-news/2023/02/fiery-train-derailment-in-east-

palestine-leads-to-evacuation-order/, a true and correct copy of which is attached hereto as

Exhibit “D”).

       21.      Further, residents in areas of Mahoning and Trumbull Counties were advised

to shelter in place on February 6, 2023. (Stan Boney, Katelyn Amato, Jerica Rogers, C. Aileen

Blaine, Noelle Haynes, Shelter in Place, Officials Advising Valley Residents to Stay Indoors,

WKBN27 News, February 6, 2023, available at https://www.wkbn.com/news/local-

news/east-palestine-train-derailment/shelter-in-place-officials-advising-valley-residents-

stay-indoors/, a true and correct copy of which is attached hereto as Exhibit “E”).

       22.      East Palestine, Ohio, the location of the derailment, evacuation sites, and

“shelter in place” orders, has a population of approximately 4,761. (A true and correct copy

of the U.S. Census Bureau, State & County QuickFacts for East Palestine is attached hereto as

Exhibit “F”). Further, census data shows that the number of individuals living within two



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miles of the derailment site is 5,412. (A true and correct copy of the University of Missouri

Census Data Center, Geocor 2022 Geographic Correspondence Engine data for a 2 mile radius

is attached hereto as Exhibit “G”).

        23.      Data Axle (formerly ReferenceUSA) reports that East Palestine, Ohio currently

has 1,230 businesses. (A true and correct copy of the Data Axle Report for East Palestine

Businesses is attached hereto as Exhibit “H”).

        24.      The population of Columbiana County, Ohio as of the April 1, 2020 census is

approximately 101,877 persons. (U.S. Census Bureau, State & County QuickFacts,

Columbiana County, Ohio, available at

https://www.census.gov/quickfacts/fact/table/columbianacountyohio/PST045222, a true

and correct copy of which is attached hereto as Exhibit “I”).

        25.      Data Axle reports that Columbiana County, Ohio currently has 18,996

businesses. (A true and correct copy of the Data Axle Report for Columbiana County

Businesses is attached hereto as Exhibit “J”).

        26.      In addition and for scale, the following, nonexclusive, list of census areas with

populations exceeding 5,000 are within the 20 mile radius proposed by Plaintiffs:

                    Youngstown, OH (66,982)2

                    Canfield, OH (7,699)

                    Struthers, OH (10,063)

                    Campbell, OH (7,852)

                    Salem, OH (11,915)



2The twenty mile radius alleged by Plaintiffs does not appear to cover all of the Youngstown city area, but
does reach the center of Youngstown.


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                 Columbiana City, OH (6,559)

                 East Liverpool, OH (9,958)

                 Beaver Falls, PA (9,005)

                 New Castle, PA (21,926)

                 Ellwood City, PA (7,642)

(U.S. Census Bureau, State & County QuickFacts for the above areas are collectively attached

hereto as Exhibit “K”).

                      LOSS OF INCOME FOR EAST PALESTINE BUSINESSES

        27.   Plaintiffs seek damages for loss of income by all businesses within 20 miles of

the incident site. (Ex. “A” at ¶ 59). A conservative estimate of the amount in controversy

attributable to lost-income compensatory damages from just East Palestine, Ohio businesses

within the Complaint’s class definition is approximately $1,378,361 for a five-day period.

   28. Based on the duration of the evacuation and shelter in place orders in East Palestine,

Ohio the Defendants will assume for purposes of the amount in controversy analysis only

that plaintiffs seek recovery of approximately five days of lost sales for each East Palestine,

Ohio business. This assumption is supported by news reports that East Palestine businesses

had a sales decrease during the evacuation period.          (See Gerry Ricciutti, Megan Lee,

Businesses Work Through Challenges Following Evacuation Lift, WKBN27 News, February 10,

2023,     available   at    https://www.wkbn.com/news/local-news/east-palestine-train-

derailment/businesses-residents-slowly-return-to-normal-following-evacuation-lift/,          a

true and correct copy of which is attached hereto as Exhibit “L”).

        29.   To be conservative, jurisdictional amount calculations will be made only for

East Palestine businesses with annual sales of less than $2.5 million. The sales of a business


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with $2.5 million in annual sales would average $6,849 per day, and $34,246 for a five day

period. Additionally, to be conservative, businesses outside of East Palestine but within

Columbiana County will not be included.

       30.    Data Axle lists 628 businesses in East Palestine with annual sales under $2.5

million. Of these 628 businesses, 161 have verified records. To be conservative, only the

verified records will be used here. (Data Axle Report for Verified records of East Palestine

Businesses With Sales Under $2.5 Million, a true and correct copy of which is attached hereto

as Exhibit “M”).

       31.    Taking these estimates together, the total value for lost sales for East Palestine

businesses would be approximately $1,102,689 per day and $5,513,445 for a five day period.

       32.    To create an even more conservative estimate, taking 25% of the total sales

lost to represent lost revenue, the total minimum economic damages for lost revenue to East

Palestine businesses totals $1,378,361 for a five-day period.

                       LOSS OF INCOME FOR EAST PALESTINE RESIDENTS

       33.    Plaintiffs also seek compensatory damages for the income lost by individuals

residing or working within 20 miles of the February 3 derailment site. (Ex. “A” at ¶¶ 1, 59).

A conservative estimate of the amount in controversy attributable to lost income for just East

Palestine households evacuated and subject to shelter-in-place orders is at least $1,459,430.

       34.    Approximately 900 homes, comprising nearly 2,000 East Palestine residents,

were evacuated. The median household income in East Palestine is $40,000 for the town’s

households. (East Palestine Ohio Government Statistics, available at, http://eastpalestine-

oh.gov/statistics/, a true and correct copy of which is attached hereto as Exhibit “N”). If each




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home contained only one household, and each of those households lost a week’s wages

($769.23), this group of persons would claim to have lost $692,307 in wages.

       35.    All other residents of East Palestine were subject to shelter-in-place orders on

February 3, 2023 (See Ex. “D”). Subtracting those in the evacuation area, this leaves

approximately 1,000 households affected by the shelter-in-place orders. Given the mean

household income in East Palestine, seven days of claimed lost income for just these

households is $767,123.29 in lost wages ($40,000 divided by 365 (average daily wage)

multiplied by 1,000 households multiplied by seven days). This figure does not include

residents of other municipalities within 20 miles of the derailment site who were advised to

shelter in place, such as those in Mahoning and Trumbull Counties. (See Ex. “E”).

         LOSS OF USE AND ANNOYANCE DAMAGES FOR EAST PALESTINE RESIDENTS

       36.    Plaintiffs also seek compensatory damages under a theory of nuisance for

“damages as the direct and proximate result of the fire, smoke, and chemicals,” (Ex. “A” at ¶

49), and under both nuisance and other claims for all other losses related to the evacuation

order and/or failure to return, including “discomfort and inconvenience.” (Ex. “A” at ¶ 59).

Ohio follows the Restatement (Second) of Torts § 929 in assessing damages to land. See

Parker v. Hegler, 2008-Ohio-3739, ¶ 14 (11th Dist. Ct. App. 2008). Section 929 in principle

provides compensation for diminution of residential property value, loss of use, and

discomfort and annoyance. A conservative estimate of the amount in controversy for these

claims exceeds $228,666.

       37.    As described above, approximately 900 households were evacuated for

around a week’s time. For the loss of use of their residences, these evacuees could claim to

be entitled to at least the residences’ rental value for the period of the evacuation. See



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RESTATEMENT § 931 cmt. b. The median monthly gross rent in Columbia County is $641,

which equates to a weekly rent of approximately $147.51. (See Ex. “I”). This equates to loss

of use damages of $132,766.

       38.    In addition, prevailing nuisance plaintiffs may seek damages for restoration as

well as “discomfort and annoyance” from the nuisance. These damages include effects on

the senses, such as “noxious gases, or disagreeable odors” which are alleged to cause physical

discomfort to a plaintiff. Banford v. Aldrich Chem. Co., 2010-Ohio-2470, ¶ 26, 126 Ohio St. 3d

210, 215, 932 N.E.2d 313, 318. (collecting cases). Persons from areas beyond the evacuation

area are alleged to have reported a strong smell as of February 7, 2023. (See Ex. “E”).

       39.    In Bullock v. Oles, 2001-Ohio-3220 (7th Dist. Ct. App.) the appellate court

affirmed a bench trial verdict of $10,000 for a nuisance claim related to sewage discharged

from an adjoining property which existed for two years even though it did not result in the

plaintiffs being forced from their homes. This resulted in an award for approximately $13.70

per day for discomfort and annoyance. Taking this number as a benchmark example for

purposes of the amount in controversy analysis, it is reasonable to assume an amount in

controversy of at least $95,900 for discomfort and annoyance ($13.70 times 7 days,

multiplied by the number of households 1,000).

                                    PUNITIVE DAMAGES

       40.    Plaintiffs also request an award of punitive damages related to the February 3

derailment. (Ex. “A” at ¶ 9, no. 3).     “When determining the jurisdictional amount in

controversy in diversity cases, punitive damages must be considered . . . unless it is apparent

to a legal certainty that such cannot be recovered.” Hayes v. Equitable Energy Res. Co., 266

F.3d 560, 572 (6th Cir. 2001) (quoting Holley Equip Corp. v. Credit Alliance Corp., 821 F.2d



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1531, 1535 (11th Cir. 1987)). Ohio law allows for the recovery of punitive damages in tort

actions in which the plaintiff proves actual damages and the defendant's actions or omissions

demonstrate malice, but caps such damages at two times the amount of compensatory

damages. Ohio Rev. Code § 2315.21(C), (D).

       41.    Plaintiffs’ Complaint alleges that Defendants’ actions were reckless or willful

and wanton, and constituted a “conscience disregard of a known risk having a substantial

likelihood of causing serious harm.” (Ex. “A” at ¶¶ 53-56). While this is denied, based on

Ohio law, punitive damages are technically an available remedy to seek in tort actions –

meaning there is no “legal certainty” that punitive damages cannot be recovered in this case.

See, e.g., Allison v. ExxonMobil Corp., No. C-07-003809, 2011 Jury Verdicts LEXIS 203517 (Md.

Cir. Ct. Balt. Cty. June 30, 2011) (jury awarded $1,045,290,000 in punitive damages and

$496,840,570 in compensatory damages where gasoline tank had leaked and contaminated

water; plaintiffs alleged trespass and fraudulent misrepresentation and claimed tanks had

propensity to leak); Caudill v. E.I. Dupont, No. 0:04- 229, 2010 KY Trial Ct. Rev. LEXIS 88 (D.

Ky. Feb. 18, 2010) (court applied a previous jury’s 10:1 multiplier for punitive damages

resulting from sulfuric mist release that caused respiratory and emotional injuries, where

there was evidence of corrosion in piping).

       42.    Application of a 2:1 ratio of punitive to compensatory damages to the above

estimates would yield $6,132,914 in punitive damages ($1,378,361 for loss of revenue plus

$1,459,430 for loss of income for residents plus $228,666 for loss of use and for annoyance,

yields $3,066,457 in compensatory damages, then multiplied by 2). This brings the total

amount in controversy to $9,199,371.




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       43.     Even if a jury were to award an equal amount in punitive and compensatory

damages, the amount in controversy would still be $6,132,914, well over the CAFA

jurisdictional limit.

                                DAMAGES NOT CONSIDERED

       44.     None of the above estimates include the potential claims of any person or

business outside of East Palestine, Ohio even though the subclasses include all individuals

residing within 20 miles of the February 3 derailment site. As noted above, census data

suggests that the total number of potential class members residing in that 20 mile radius

exceeds 446,000.

       45.     Plaintiffs also seek an award for medical monitoring costs to each class

member. Although at this time Defendants do not have an estimate for the medical

monitoring costs requested by plaintiffs, such costs are undoubtedly to be considered in

calculating an amount in controversy. See Sutton v. St. Jude Med. S.C., Inc., 419 F.3d 568, 571

(6th Cir. 2005).

       46.     “Under Ohio law, a medical monitoring prayer for relief is deemed injunctive

when the court is involved in the administration of the medical monitoring program.” Hirsch

v. CSX Transp., Inc., 2008 U.S. Dist. LEXIS 124211, at *25 (N.D. Ohio Oct. 22, 2008). Costs for

complying with an injunction are properly considered for amount in controversy calculation

purposes. Pennsylvania R.R. Co. v. Girard, 210 F.2d 437, 439 (6th Cir. 1954).

       47.     Plaintiffs also make a claim for attorneys’ fees as part of the requested award.

Since Plaintiffs do not provide a statutory basis for attorneys’ fees in the complaint, they have

been excluded from the amount in controversy calculations. See Miller v. Volkswagen of Am.,




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Inc., 889 F. Supp. 2d 980, 988 (N.D. Ohio 2012) (noting only statutory attorney fees are

properly considered toward the jurisdictional minimum calculation).

                       AMOUNT IN CONTROVERSY CALCULATIONS

       48.    Utilizing the conservative estimates set forth above, the amount in

controversy in this class action exceeds $9,199,371 ($3,066,457 in compensatory damages

plus $6,132,914 in punitive damages). Therefore, by a preponderance of the evidence, the

amount in controversy exceeds the $5,000,000 threshold for diversity jurisdiction under

CAFA. See 28 U.S.C. § 1332(d).

       49.    Accordingly, in light of the amount in controversy and the fact that a member

of each putative subclass of plaintiffs is a citizen of a state different from that of any

defendant, this Court has diversity jurisdiction under CAFA, see 28 U.S.C. § 1332(d), and this

action is properly removed to this Court pursuant to 28 U.S.C. §§ 1441, 1446, and 1453.

       50.    This Notice of Removal is being timely filed and served pursuant to 28 U.S.C.

§ 1446(b). At this time, neither NSC nor NSR has been served with the Summons or

Complaint.

       51.    Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is being

served by electronic mail and overnight delivery upon Plaintiffs’ attorneys of record, and

notice will be filed with the Clerk of the Court of Common Pleas of Columbiana County, Ohio.

       52.    By filing this Notice, Defendants do not waive and instead expressly reserve

their right to raise any and all defenses and objections that may be available to them.




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       WHEREFORE, Defendants, Norfolk Southern Corporation and Norfolk Southern

Railway Company, pray that the above-captioned action be removed from the Court of

Common Pleas of Columbiana County, Ohio, to the United States District Court for the

Northern District of Ohio.

                                             Respectfully submitted,

                                             DICKIE, McCAMEY & CHILCOTE, P.C.

                                             By: /s/Scott D. Clements
                                                 J. Lawson Johnston, Esquire
                                                 Scott D. Clements, Esquire

                                                 Two PPG Place, Suite 400
                                                 Pittsburgh, PA 15222
                                                 (412) 281-7272

                                                 Attorneys for Defendants,
                                                 Norfolk Southern Corporation and
                                                 Norfolk Southern Railway Company




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                                 CERTIFICATE OF SERVICE

        I, Scott D. Clements, Esquire, hereby certify that on February 15, 2023 I served true

and correct copies of the foregoing Notice of Removal and accompanying exhibits by

electronic mail and FedEx overnight delivery on the following counsel of record:

                                    James R. Wise, Esq.
                                 Hartford & Wise Co., L.P.A.
                                   91 W. Taggert Street
                                 East Palestine, OH 44413

                                   Patrick J. Perotti, Esq.
                                   Nicole T. Fiorelli, Esq.
                                   Frank A. Bartela, Esq.
                                 Shmuel S. Kleinman, Esq.
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